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                                                                                   August 13, 2020
VIA ECF
Honorable Katherine Polk Failla
United States District Judge
Southern District of New York
Thurgood Marshall
United States Courthouse
40 Foley Square
New York, NY 10007

                       Re:     Sosa v. Pat McGrath Cosmetics LLC,
                               Case No.: 1:20-cv-4863-KPF

Dear Judge Failla,

        The undersigned represents Yony Sosa, on behalf of himself and all other persons
similarly situated (“Plaintiff”), in the above-referenced action against Pat McGrath Cosmetics
LLC, (“Defendant”). We write, with Defendant’s consent to inform the Court that the Parties
have reached a settlement in principle, and respectfully request that Your Honor dismiss this
action with prejudice with the right to reopen in thirty days if the Settlement Agreement is not
consummated. In light of the anticipated settlement, the undersigned respectfully requests that
the current deadlines in this action be adjourned sine die.

       We thank the Court for its time and attention in this matter.

                                                                           Respectfully submitted,
                                                                          s/ Jeffrey M. Gottlieb, Esq.
                                                                             Jeffrey M. Gottlieb, Esq.

cc: all counsel of record VIA ECF




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